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                        EXHIBIT 05
Machine Translated by Google                                        Direct contact with girts
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                                                                                                                       PageOS2 of 3

    Subject: Direct contact with the girls From:
    Arnaud Paris <aparis@sysmicfilms.com> Date:
    04/26/2024 2:46 p.m. To:
    Heidi Paris <heidimparis@gmail.com>

     Heidi, ifs been almost 3 weeks since you kidnapped our girts from France to the USA by violating the 1ST.



     I haven't been able to speak to them once directly, and you try to supervise any dialogue with them like when you called on speakerphone In your car on April
     18 at 4 a.m. French time... You hung up after a minute because It is obvious that you fear that they wm tell me compromising things about your illegal
     exit from France and Europe.




    Your headlong flight will come to nothing, the truth will come out about the crime you committed. Don't involve the girts any further in your lies and this
    illegal escape from Europe.

    You make them suffer even more by depriving them of this precious dialogue with their father for three weeks which they must miss terribly given that I had
    full custody and that they were counting on finding me at the end of their week of vacation with you to finish their school year normally in Paris. You just
    ripped them out in the middle of the school year, how could you do such a thing? You dearty don't have our daughters' best Interests in mind Heidi.




     I ask you to reestablish a direct l!nk without supeivislon as I asked you in my previous emails by giving them back their connected watch and their iPad
     dedicated to parental communication and by organizing sufficient speaking time at decent times French time.




    So thank you for offering me 3 slots at decent French times tomorrow saturday and Sunday so that I can communicate with them each in tum, live
    without supervision from you or anyone.



    Arnaud




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                                      Contact direct avec Jes filles
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Subject: Contact direct avec les filles
From: Arnaud Paris <aparis@sysmicfilms.com>
Date: 26/04/2024 14:46
To: Heidi Paris <heidimparls@gmail.com>

Heidi, cela fait pres de 3 semaines que tu as kidnappe nos filles de France vers les USA en
violant l'IST.
Je n'ai pas pu leur parler une seule fois en direct, et tu essayes de superviser tout dialogue
avec elles comme lorsque tu avais appele sur haut parleur dans ta voiture le 18 avril a 4
heure du matin heure fran~aise ... Tu avais raccroche au bout d'une minute car il est evident
que tu crains qu'elles ne me raccontent des choses compromettantes sur ta sortie illegale de
la France et de l'Europe.
Ta fuite en avant n'aboutira a rien, la verite va resortir sur le crime que tu as commis. Ne
mele pas les filles plus encore ates mensonges et a cette fuite illegale d'Europe.
Tu les fais souffrir encore plus en les privant de ce dialogue precieux avec leur pere depuis
trois semaine qui doit leur manquer terriblement etant donne que j'avais la garde complete et
qu'elles comptaient sur le fait de me retrouver a l'issue de leur semaine de vacances avec toi
pour finir leur annee scolaire normalement a Paris, Tu viens de les arracher en plein milieu
d'annee scolaire, comment as tu pu faire une chose pareille? Tu n"as clairement pas l'interet
de nos filles en tete Heidi,
                                   '
Je te demande de retablir un lien direct sans supervision comme je te l'avais demande dans mes
precedents emails en leur rendant leur montre connectee et leur ipad dedie a la communication
parentale et en organisant des temps de parole suffisants a des horaires decents heure
fran~aise.
Merci done de me proposer 3 creneaux a des heures fran~aises decentes sur demain samedi et
dimanche pour que je puisse communiquer avec elles chacune a leur tour, en direct sans
supervision de ta part ou de qui que ce soit.
Arnaud




                                     EXHIBIT 5 - PAGE 2 OF 2
